                                   Case 25-12728-MAM                     Doc 1-1      Filed 03/13/25           Page 1 of 109


Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                         Chapter you are filing under:
                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                      Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                    About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on      MARK
     your government-issued         First name                                                      First name
     picture identification (for
     example, your driver's         MICHAEL
     license or passport).          Middle name                                                     Middle name
     Bring your picture
     identification to your
                                    MONTALTO, Sr.
     meeting with the trustee.      Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal              xxx-xx-4686
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
                                 Case 25-12728-MAM                   Doc 1-1         Filed 03/13/25        Page 2 of 109
Debtor 1   MARK MICHAEL MONTALTO, Sr.                                                                 Case number (if known)



                                  About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                  EIN                                                           EIN



5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                  2028 SW DRIFTWOOD ST
                                  Port Saint Lucie, FL 34953
                                  Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                  St. Lucie
                                  County                                                        County

                                  If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                  above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                  notices to you at this mailing address.                       mailing address.



                                  Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing         Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




 Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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Debtor 1    MARK MICHAEL MONTALTO, Sr.                                                                    Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the          Yes.
     last 8 years?
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being          Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    MARK MICHAEL MONTALTO, Sr.                                                                      Case number (if known)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time          No.       Go to Part 4.
    business?
                                       Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                     Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                        Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under            If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the               deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code, and            operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    are you a small business        in 11 U.S.C. § 1116(1)(B).
    debtor?
    For a definition of small          No.       I am not filing under Chapter 11.
    business debtor, see 11
    U.S.C. § 101(51D).                 No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                 Code.

                                       Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                 I do not choose to proceed under Subchapter V of Chapter 11.

                                        Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                 I choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any             No.
    property that poses or is          Yes.
    alleged to pose a threat
    of imminent and                            What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                        If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                             Number, Street, City, State & Zip Code




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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Debtor 1    MARK MICHAEL MONTALTO, Sr.                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    MARK MICHAEL MONTALTO, Sr.                                                                    Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
                                               Yes
     be available for
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                             $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ MARK MICHAEL MONTALTO, Sr.
                                 MARK MICHAEL MONTALTO, Sr.                                        Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on        March 13, 2025                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   MARK MICHAEL MONTALTO, Sr.                                                                      Case number (if known)



For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one               under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                 for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by    342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need     in the schedules filed with the petition is incorrect.
to file this page.
                                 /s/ David L. Merrill                                               Date          March 13, 2025
                                 Signature of Attorney for Debtor                                                MM / DD / YYYY

                                 David L. Merrill 99155
                                 Printed name

                                 The Associates
                                 Firm name

                                 Harbour Financial Center
                                 2401 PGA Boulevard, Suite 280M
                                 Suite B
                                 Palm Beach Gardens, FL 33410
                                 Number, Street, City, State & ZIP Code

                                 Contact phone     (561) 877-1111                             Email address         dlm@theassociates.com
                                 99155 FL
                                 Bar number & State




 Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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Fill in this information to identify your case:

Debtor 1                   MARK MICHAEL MONTALTO, Sr.
                           First Name                          Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                          Middle Name                          Last Name


United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                   656.27

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $                   656.27

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                5,843.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          8,214,249.39


                                                                                                                                   Your total liabilities $              8,220,092.39


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                   951.50

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,495.69

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
               purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
               court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
                           Case 25-12728-MAM                    Doc 1-1         Filed 03/13/25              Page 9 of 109
Debtor 1   MARK MICHAEL MONTALTO, Sr.                                                   Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

     9d. Student loans. (Copy line 6f.)                                                                 $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information       page 2 of 2
                                Case 25-12728-MAM                          Doc 1-1          Filed 03/13/25                 Page 10 of 109

 Fill in this information to identify your case and this filing:

 Debtor 1                MARK MICHAEL MONTALTO, Sr.
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number                                                                                                                                         Check if this is an
                                                                                                                                                     amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.
       Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                      1 Desk                                                                                                                     $10.00

                                      1 Pasiose Air Nail Gun - 20 yrs old; 1 Pora Cable Air Coil Gun, 20 yrs
                                      old; 1 Makita Skillsaw, 22 yrs old; 1 Dewalt Air Compressor 24 yrs old                                                   $150.00

                                      Craftsman open end wrenches, 21 yrs old; Stanley sockets (loose
                                      pieces) 20 yrs old; Craftsman screwdrivers (variety of sizes and
                                      types)22 yrs old;                                                                                                        $120.00


Official Form 106A/B                                                      Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2025 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                Case 25-12728-MAM                      Doc 1-1        Filed 03/13/25         Page 11 of 109
 Debtor 1       MARK MICHAEL MONTALTO, Sr.                                                             Case number (if known)

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....
                                    1 Dell Computer, 1 Sceptre monitor                                                                                  $20.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....
                                    Model Airplanes                                                                                                       $1.00


10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....
                                    1 Ruger Semi-automatic, 4 years old;
                                    1 Stoeber 12 gauge shotgun, 7 years old;
                                    1 Mossber .410 shot gun, 20 years old                                                                             $125.00


11.    Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....
                                    Clothing, of no value but to Debtor                                                                                   $0.00


12.    Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....
                                    1 gold wedding band, $100.00;
                                    1 gold wedding band, $100.00;
                                    2 10k gold necklaces, $20.00                                                                                      $220.00


13.    Non-farm animals
       Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14.    Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                            $646.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

16.    Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No

Official Form 106A/B                                                 Schedule A/B: Property                                                               page 2
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        Yes................................................................................................................
                                                                                                                                       Cash                                 $10.27


17.   Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                              17.1.       Checking                               Seacoast Bank                                                                $0.00


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:
                                 Port St Lucie Properties, Inc                                             %                           $0.00


20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                                  Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured

Official Form 106A/B                                                                      Schedule A/B: Property                                                              page 3
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 Debtor 1        MARK MICHAEL MONTALTO, Sr.                                                                                      Case number (if known)

                                                                                                                                                                claims or exemptions.

28.    Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,                                    workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                                                          Surrender or refund
                                                                                                                                                                  value:
                                            $10,000.00 life insurance policy paid for
                                            through his current work.                                                Shannon Mitler                                                 $0.00


32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                  $10.27

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above



Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 4
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 Debtor 1         MARK MICHAEL MONTALTO, Sr.                                                                                          Case number (if known)


53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................         $0.00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                $0.00
 56. Part 2: Total vehicles, line 5                                                                                $0.00
 57. Part 3: Total personal and household items, line 15                                                         $646.00
 58. Part 4: Total financial assets, line 36                                                                      $10.27
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                           +                  $0.00

 62. Total personal property. Add lines 56 through 61...                                                         $656.27            Copy personal property total          $656.27

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                      $656.27




Official Form 106A/B                                                              Schedule A/B: Property                                                                      page 5
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 Fill in this information to identify your case:

 Debtor 1                MARK MICHAEL MONTALTO, Sr.
                         First Name                         Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1 Desk                                                               $10.00                                   $10.00     Fla. Const. art. X, § 4(a)(2)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1 Pasiose Air Nail Gun - 20 yrs old; 1                              $150.00                                  $150.00     Fla. Const. art. X, § 4(a)(2)
      Pora Cable Air Coil Gun, 20 yrs old; 1
      Makita Skillsaw, 22 yrs old; 1 Dewalt Air                                            100% of fair market value, up to
      Compressor 24 yrs old                                                                any applicable statutory limit
      Line from Schedule A/B: 6.2

      Craftsman open end wrenches, 21 yrs                                 $120.00                                  $120.00     Fla. Const. art. X, § 4(a)(2)
      old; Stanley sockets (loose pieces) 20
      yrs old; Craftsman screwdrivers (variety                                             100% of fair market value, up to
      of sizes and types)22 yrs old;                                                       any applicable statutory limit
      Line from Schedule A/B: 6.3

      1 Dell Computer, 1 Sceptre monitor                                   $20.00                                   $20.00     Fla. Const. art. X, § 4(a)(2)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Model Airplanes                                                       $1.00                                     $1.00    Fla. Const. art. X, § 4(a)(2)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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 Debtor 1    MARK MICHAEL MONTALTO, Sr.                                                                  Case number (if known)
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     1 Ruger Semi-automatic, 4 years old;                                $125.00                                   $125.00        Fla. Const. art. X, § 4(a)(2)
     1 Stoeber 12 gauge shotgun, 7 years
     old;                                                                                  100% of fair market value, up to
     1 Mossber .410 shot gun, 20 years old                                                 any applicable statutory limit
     Line from Schedule A/B: 10.1

     1 gold wedding band, $100.00;                                       $220.00                                   $220.00        Fla. Const. art. X, § 4(a)(2)
     1 gold wedding band, $100.00;
     2 10k gold necklaces, $20.00                                                          100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit


     Cash                                                                 $10.27                                    $10.27        Fla. Const. art. X, § 4(a)(2)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                MARK MICHAEL MONTALTO, Sr.
                         First Name                         Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name             Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     MARK MICHAEL MONTALTO, Sr.
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim          Priority              Nonpriority
                                                                                                                                           amount                amount

 2.1          Internal Revenue Service                               Last 4 digits of account number                         $5,843.00            $5,843.00                   $0.00
              Priority Creditor's Name
              PO Box 1214                                            When was the debt incurred?
              Charlotte, NC 28201
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No
            Yes



 Part 2:         List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                           Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 52
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.1      AAA LATH & STUCCO INC                                      Last 4 digits of account number                                                      $31,300.00
          Nonpriority Creditor's Name
          302 SE FISK ROAD                                           When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2      ABOVE ALL PAINTING                                         Last 4 digits of account number                                                      $10,763.00
          Nonpriority Creditor's Name
          702 NE GALIOEAN ST                                         When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


          Abraham A & Dorothy Drouillard
 4.3      Calixte                                                    Last 4 digits of account number                                                      $60,000.00
          Nonpriority Creditor's Name
          1270 SW Bargello Ave                                       When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 52
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.4      ACCURIGHT LAND SURVEYING                                   Last 4 digits of account number                                                           $700.00
          Nonpriority Creditor's Name
          1501 SE DECJER AVE, #4190                                  When was the debt incurred?
          Stuart, FL 34994
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5      Alexander Hess                                             Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          288 SE Collings Dr                                         When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6      ALEXANDER J PIAZZA PSM, INC                                Last 4 digits of account number                                                      $14,700.00
          Nonpriority Creditor's Name
          619 BITMORE ST                                             When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7      Alexandra Zapata James                                     Last 4 digits of account number                                                      $62,000.00
          Nonpriority Creditor's Name
          10118 Dogwood Creek Drive                                  When was the debt incurred?
          Jacksonville, FL 32222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 52
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)


 4.8      Alexandria Winiarskyj & A Ordonez                          Last 4 digits of account number                                                      $70,000.00
          Nonpriority Creditor's Name
          3152 Johnston Road                                         When was the debt incurred?
          Fort Pierce, FL 34951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9      ALL COAST SEPTIC SERVICES, INC                             Last 4 digits of account number                                                      $52,215.00
          Nonpriority Creditor's Name
          3106 MURA DR                                               When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 0        ALL COUNTY TOILETS, INC                                    Last 4 digits of account number                                                           $133.75
          Nonpriority Creditor's Name
          10501 S CAMELOT CIRCLE                                     When was the debt incurred?
          DAVIE, FL 33328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)


 4.1      Amanda J Parramore & Brandon
 1        Parramore                                                  Last 4 digits of account number                                                      $54,000.00
          Nonpriority Creditor's Name
          5229 NW Jake Court                                         When was the debt incurred?
          Stuart, FL 34994
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 2        Andrew & Nelia Troia                                       Last 4 digits of account number                                                      $26,000.00
          Nonpriority Creditor's Name
          2631 NE 9th Avenue                                         When was the debt incurred?
          Pompano Beach, FL 33064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 3        Andrew and Rachael Pastore                                 Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          737 SE Lansdowne Ave                                       When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.1
 4        Anthony Addorisio                                          Last 4 digits of account number                                                     $280,000.00
          Nonpriority Creditor's Name
          4058 SW Kallen Street                                      When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 5        AQUA DIMENSIONS                                            Last 4 digits of account number                                                      $79,242.00
          Nonpriority Creditor's Name
          1651SW SOUTH MACEDO BLVD                                   When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 6        ASHTON SEPTIC TANKS, INC                                   Last 4 digits of account number                                                      $15,995.00
          Nonpriority Creditor's Name
          376 CYCLONE DR                                             When was the debt incurred?
          Fort Pierce, FL 34945
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 7        ATT                                                        Last 4 digits of account number                                                        $2,833.85
          Nonpriority Creditor's Name
          PO BOX 5001                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Consumer Products and Services


 4.1      Ava Alves De Sa & Gloria Belli
 8        Alvarez                                                    Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          1698 SW Cecelia Lane                                       When was the debt incurred?



          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 9        Bioneva Scott & Lorenzo Fulmore                            Last 4 digits of account number                                                      $12,000.00
          Nonpriority Creditor's Name
          4582 SW Savona Blvd                                        When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.2
 0        BOWDOIN G HUTCHINSON                                       Last 4 digits of account number                                                        $6,454.45
          Nonpriority Creditor's Name
          806 DELAWARE AVE                                           When was the debt incurred?
          Fort Pierce, FL 34950
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 1        BRIGHT IDEAS LED                                           Last 4 digits of account number                                                        $5,665.87
          Nonpriority Creditor's Name
          1650 NW FEDERAL HWY                                        When was the debt incurred?
          Stuart, FL 34994
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2      BRITTANY THOMAS & TYLER J
 2        FARINAS                                                    Last 4 digits of account number                                                      $56,000.00
          Nonpriority Creditor's Name
          111 SE ELCITO COURT                                        When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.2
 3        BUILDERS FIRST SOURCE                                      Last 4 digits of account number                                                      $52,699.66
          Nonpriority Creditor's Name
          PO BPX 277126                                              When was the debt incurred?
          Atlanta, GA 30384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2      CABINET CONNECTION OF THE
 4        TREASURE COAST                                             Last 4 digits of account number                                                     $131,439.00
          Nonpriority Creditor's Name
          740 NW ENTERPRISE DR                                       When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 5        Capital One Bass Pro                                       Last 4 digits of account number       0946                                             $7,350.05
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




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 4.2
 6        CARDINAL ROOFING AND SIDING                                Last 4 digits of account number                                                      $57,222.00
          Nonpriority Creditor's Name
          1601 SW SOUTH NIEMEYER CIR                                 When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2      CARPENTER CONTRACTORS OF
 7        AMERICA, INC                                               Last 4 digits of account number                                                      $66,925.00
          Nonpriority Creditor's Name
          3200 NE 14TH ST CAUSEWAY                                   When was the debt incurred?
          Pompano Beach, FL 33062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.2
 8        Cassandra Palau Sealy                                      Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          7760 Johnson Street                                        When was the debt incurred?
          Pembroke Pines, FL 33024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.2      Charles E Denning, III & Johanne
 9        Denning                                                    Last 4 digits of account number                                                      $16,000.00
          Nonpriority Creditor's Name
          132 SW Gettysburg Drive                                    When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 0        CHERYL MONTALTO                                            Last 4 digits of account number                                                      $99,000.00
          Nonpriority Creditor's Name
          2281 SE Melaleuca Blvd                                     When was the debt incurred?           November 2023
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Domestic Relations


 4.3
 1        Christopher & Tera Krueger                                 Last 4 digits of account number                                                      $19,000.00
          Nonpriority Creditor's Name
          2044 SE Blackwell Dr                                       When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.3
 2        Christy Michelle Heath                                     Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          7403 Kenwood Road                                          When was the debt incurred?
          Fort Pierce, FL 34951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 3        Clovis Gordon & Rosette Lynch                              Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          2286 SW Crocus Lane                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3      COASTAL BUILDING
 4        CONTRACTORS                                                Last 4 digits of account number                                                     $707,825.85
          Nonpriority Creditor's Name
          751 SW SOUTH MACEDO BLVD                                   When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.3      CREATIVE WOODWORKS & TRIM,
 5        LLC                                                        Last 4 digits of account number                                                        $1,746.00
          Nonpriority Creditor's Name
          581 NW RED PINE WAY                                        When was the debt incurred?
          Jensen Beach, FL 34957
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 6        CRISTANO & MARIA GAMBOA                                    Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          47 HIGHLAND AVENUE                                         When was the debt incurred?
          PT WASHINGTON, NY 11500
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3      D & D GARAGE DOORS OF PSL,
 7        INC                                                        Last 4 digits of account number                                                        $9,000.00
          Nonpriority Creditor's Name
          PO BOX 880667                                              When was the debt incurred?
          Port Saint Lucie, FL 34988
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.3
 8        Dakota Howell                                              Last 4 digits of account number                                                      $35,000.00
          Nonpriority Creditor's Name
          5494 NW Chapel Ct                                          When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.3
 9        Danielle Desrosiers                                        Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          632 SW McCracken Ave                                       When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 0        David and Elga Alvarado                                    Last 4 digits of account number                                                      $67,000.00
          Nonpriority Creditor's Name
          2361 SW Neal Road                                          When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.4      DAVIDSON INSULATION &
 1        ACOUSTICS, INC                                             Last 4 digits of account number                                                      $85,106.00
          Nonpriority Creditor's Name
          PO BOX 380939                                              When was the debt incurred?
          Murdock, FL 33938
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 2        Dennis S & Paula J Mercer                                  Last 4 digits of account number                                                     $120,000.00
          Nonpriority Creditor's Name
          502 SW Kabot Avenue                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 3        Donald J & Katherine A Zaros                               Last 4 digits of account number                                                      $41,000.00
          Nonpriority Creditor's Name
          1916 Lynx Drive                                            When was the debt incurred?
          Fort Pierce, FL 34949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.4
 4        Donald Wartonick                                           Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          8 Blue Herons Way                                          When was the debt incurred?
          Pepperell, MA 01463
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 5        DREAM CONTRACTORS                                          Last 4 digits of account number                                                      $22,000.00
          Nonpriority Creditor's Name
          320 NW ENTERPRISE DR, SUITE                                When was the debt incurred?
          110
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 6        Elvia & Jesus Burgos                                       Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          4770 SE Compass Way                                        When was the debt incurred?
          Stuart, FL 34997
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.4      ENGINEERING DESIGN &
 7        CONSTRUCTION                                               Last 4 digits of account number                                                        $8,225.00
          Nonpriority Creditor's Name
          10250 SW VILLAGE PARKWAY,                                  When was the debt incurred?
          SUITE 201
          Port Saint Lucie, FL 34987
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 8        Eric & Jacqueline McKay                                    Last 4 digits of account number                                                      $95,000.00
          Nonpriority Creditor's Name
          3 El Camino Real                                           When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.4
 9        Erik & Fallon Perez                                        Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          1598 SW Hackensack Ave                                     When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5      FOUR SEASONS LANDSCAPE
 0        NURSERY                                                    Last 4 digits of account number                                                     $396,159.75
          Nonpriority Creditor's Name
          4669 SW CITRUS BLVD                                        When was the debt incurred?
          Palm City, FL 34990
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 1        FREEDOM PORTABLES, LLC                                     Last 4 digits of account number                                                      $66,373.15
          Nonpriority Creditor's Name
          940 NE DIXIE HWY                                           When was the debt incurred?
          Jensen Beach, FL 34957
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 2        FREEDOM WASTE SERVICES                                     Last 4 digits of account number                                                        $6,297.00
          Nonpriority Creditor's Name
          940 NE DIXIE HWY                                           When was the debt incurred?
          Jensen Beach, FL 34957
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5
 3        FRITZ IRRIGATION                                           Last 4 digits of account number                                                        $3,880.00
          Nonpriority Creditor's Name
          P O BOX 1101                                               When was the debt incurred?
          Hobe Sound, FL 33475
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 4        Galen Lambert                                              Last 4 digits of account number                                                      $40,000.00
          Nonpriority Creditor's Name
          867 W Wisconsin Way                                        When was the debt incurred?
          Orange City, FL 32763
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 5        Glenn Brian Pardo                                          Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
           1040 SE Letha Circle, Apt #1                              When was the debt incurred?
          Stuart, FL 34994
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5
 6        Godfrey R Henry                                            Last 4 digits of account number                                                     $150,000.00
          Nonpriority Creditor's Name
          3094 SW Letchworth St                                      When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 7        GOTTA GO GREEN                                             Last 4 digits of account number                                                        $1,293.35
          Nonpriority Creditor's Name
          PO BOX 5375                                                When was the debt incurred?
          Vero Beach, FL 32961
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.5
 8        H & L PAINTING AND SERVICES                                Last 4 digits of account number                                                        $8,843.63
          Nonpriority Creditor's Name
          2267 SW Franklin St                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.5
 9        Harvey Leder & Ian C Nolan                                 Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          9398 Vercilli Street                                       When was the debt incurred?
          Lake Worth, FL 33467
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 0        Hermee & Darlyne Dorsainvil                                Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          6217 NW Gatun Ct                                           When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 1        HMC V LLC Camilo Montenegro                                Last 4 digits of account number                                                     $120,000.00
          Nonpriority Creditor's Name
          5805 Blue Lagoon Drive                                     When was the debt incurred?
          Miami, FL 33126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.6      HOLT'S RELIABLE GARAGE DOOR
 2        REPAIR, LLC                                                Last 4 digits of account number                                                        $2,500.00
          Nonpriority Creditor's Name
          3957 S US HWY 1                                            When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 3        HUNTER CONSTRUCTION LLC                                    Last 4 digits of account number                                                           $905.00
          Nonpriority Creditor's Name
          3638 ADRIATICE LANE                                        When was the debt incurred?
          Jensen Beach, FL 34957
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 4        Huy VU                                                     Last 4 digits of account number                                                      $97,000.00
          Nonpriority Creditor's Name
          5048 S Lake Drive                                          When was the debt incurred?
          Lake Clarke Shores, FL 33406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.6
 5        Ingred Stennett                                            Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          6371 NW Regal Circle                                       When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 6        Jacob George Robinson                                      Last 4 digits of account number                                                      $18,000.00
          Nonpriority Creditor's Name
          2445 Beach Channel 1                                       When was the debt incurred?
          Far Rockaway, NY 11691
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 7        James & Lauren Windle                                      Last 4 digits of account number                                                      $30,000.00
          Nonpriority Creditor's Name
          3782 SW Kistler St                                         When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.6
 8        Jayhad & Karissa Julien                                    Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          555 Harbor St                                              When was the debt incurred?
          Stuart, FL 34997
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6
 9        Jeana S Durden                                             Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          5113 Sunset Blvd                                           When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 0        Jeremy Brothers & Wieslawa Brothers                        Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          402 SW Molly St                                            When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.7
 1        Jessica Vasco                                              Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          17316 81st Lane                                            When was the debt incurred?
          Loxahatchee, FL 33470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 2        JETSON                                                     Last 4 digits of account number                                                      $35,689.37
          Nonpriority Creditor's Name
          4145 US HWY 1                                              When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 3        JGE II                                                     Last 4 digits of account number                                                     $142,783.60
          Nonpriority Creditor's Name
          2126 SW AZURE AVE                                          When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.7
 4        Joel Tamez                                                 Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          5105 Myrtle Dr                                             When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 5        John & Brenda Stepongzi                                    Last 4 digits of account number                                                        $1,200.00
          Nonpriority Creditor's Name
          4359 Gator Trace Lane                                      When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 6        John & Leslie Duarte                                       Last 4 digits of account number                                                      $43,000.00
          Nonpriority Creditor's Name
          1981 SW Lennox St                                          When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.7
 7        John Tewey                                                 Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          2511 SE Rock Springs Drive                                 When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 8        John WU & Anh Luu                                          Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1006 SW Majorca Ave                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.7
 9        Jonathan Garcia                                            Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          25 SW Uneeda Place                                         When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.8
 0        Jose Rivers & Emelyn Marcelino                             Last 4 digits of account number                                                      $25,000.00
          Nonpriority Creditor's Name
          2573 SW Import Drive                                       When was the debt incurred?
          Port Saint Lucie, FL 34987
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8
 1        Joseph Bikowicz & Margaret Fischetti                       Last 4 digits of account number                                                      $82,000.00
          Nonpriority Creditor's Name
          3037 SW Segovia St                                         When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8
 2        Joshua Henry & Adriana Just                                Last 4 digits of account number                                                     $225,000.00
          Nonpriority Creditor's Name
          6283 La Costa Dr., Apt E                                   When was the debt incurred?
          Boca Raton, FL 33433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.8
 3        Justin Sapp                                                Last 4 digits of account number                                                      $45,000.00
          Nonpriority Creditor's Name
          758 NE Hawls Ridge Way                                     When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8
 4        Kathleen Merritt & Mary Unkel                              Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          2205 River Hammock Lane                                    When was the debt incurred?
          Fort Pierce, FL 34981
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8
 5        KELI SANTIAGO PA                                           Last 4 digits of account number                                                      $85,000.00
          Nonpriority Creditor's Name
          1366 SW KAPOK AVENUE                                       When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.8
 6        Kevin Poole & Tzofia Menashe                               Last 4 digits of account number                                                      $18,000.00
          Nonpriority Creditor's Name
          308 SW Becker Rd                                           When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8
 7        Kim V & Nguyen T Lam                                       Last 4 digits of account number                                                     $120,000.00
          Nonpriority Creditor's Name
          6022 Westen Way                                            When was the debt incurred?
          Lake Worth, FL 33463
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8
 8        Kimberly Daly & Timothy Morris                             Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          1617 Holly Street                                          When was the debt incurred?
          Nashville, TN 37206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.8
 9        LANCER ENTERPRISES                                         Last 4 digits of account number                                                     $254,236.26
          Nonpriority Creditor's Name
          PO BOX 880128                                              When was the debt incurred?
          Port Saint Lucie, FL 34988
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9
 0        LANDSCAPING BY ANTHONY                                     Last 4 digits of account number                                                           $350.00
          Nonpriority Creditor's Name
          PO BOX 1903                                                When was the debt incurred?
          Palm City, FL 34991
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9
 1        LAVENTURE & ASSOCIATES                                     Last 4 digits of account number                                                           $725.00
          Nonpriority Creditor's Name
          2552 PETERS RD, SUITE D                                    When was the debt incurred?
          Fort Pierce, FL 34945
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.9      LOBRUTTO'S FINAL TOUCH
 2        CLEANING                                                   Last 4 digits of account number                                                        $5,620.87
          Nonpriority Creditor's Name
          5713 MYRTLE DR                                             When was the debt incurred?

          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9
 3        Lois & Peter Richardson                                    Last 4 digits of account number                                                        $8,000.00
          Nonpriority Creditor's Name
          2285 SW Frisco Terrace                                     When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9      Luis Prendes Martinez& Anna
 4        Prendes Diaz                                               Last 4 digits of account number                                                      $24,000.00
          Nonpriority Creditor's Name
          108 NE 7th Ave., Apt 307                                   When was the debt incurred?
          Boynton Beach, FL 33435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.9
 5        LUXURY ELITE LAWNS                                         Last 4 digits of account number                                                           $240.00
          Nonpriority Creditor's Name
          1196 SE PRESTON LANE                                       When was the debt incurred?
          Port Saint Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9
 6        Mario & Pastora Marchione                                  Last 4 digits of account number                                                     $112,000.00
          Nonpriority Creditor's Name
          5868 NW Mesa Circle                                        When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9
 7        Marjorie Zamy-Ducheine                                     Last 4 digits of account number                                                      $30,000.00
          Nonpriority Creditor's Name
          5337 NW Alam Circle                                        When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.9
 8        MARLIN LEASING CORP                                        Last 4 digits of account number                                                        $8,000.01
          Nonpriority Creditor's Name
          PO BOX 13604                                               When was the debt incurred?
          PHILADELPHIA, PA 19010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.9      Matthew Sternfeld & Samantha
 9        Mazzara                                                    Last 4 digits of account number                                                      $35,000.00
          Nonpriority Creditor's Name
          12817 SW Vermillon Circle                                  When was the debt incurred?
          Port Saint Lucie, FL 34987
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1      MBS MANNING BUILDING
 00       SUPPLIES                                                   Last 4 digits of account number                                                     $890,933.08
          Nonpriority Creditor's Name
          3315 OLEANDER AVE                                          When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1      MER ENTERPRISES LLC/DBA LEED
 01       INSULATION                                                 Last 4 digits of account number                                                        $4,598.00
          Nonpriority Creditor's Name
          3412 INDUSTRIAL 33RD ST                                    When was the debt incurred?
          Fort Pierce, FL 34946
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 02       Mercedes Mahin Goryl                                       Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          635 Dahlia Lane                                            When was the debt incurred?
          Vero Beach, FL 32963
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 03       Michael & Cybill Morrow Gonzalez                           Last 4 digits of account number                                                      $37,000.00
          Nonpriority Creditor's Name
          2502 SE Rock Springs, Drive                                When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 04       Michael & Yihong Dempsey                                   Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          625 SW Jacoby Ave                                          When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 05       Michael S Hamilton                                         Last 4 digits of account number                                                      $20,000.00
          Nonpriority Creditor's Name
          5981 NW Baynard Drive                                      When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 06       Micheal Singh                                              Last 4 digits of account number                                                     $120,000.00
          Nonpriority Creditor's Name
          5854 NW Hann Drive                                         When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 07       MK STRUCTURAL ENFINEERING                                  Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          587 W EAU GALLIE BLVD, SUITE                               When was the debt incurred?
          201
          Melbourne, FL 32935
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 08       Nadine Harrison                                            Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          4232 SW Karluk Drive                                       When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 09       NISAIR                                                     Last 4 digits of account number                                                      $36,210.30
          Nonpriority Creditor's Name
          3700 US 1                                                  When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 10       Noreen Christine Bhoorasingh                               Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          6191 Sugar Loaf Lane                                       When was the debt incurred?
          West Palm Beach, FL 33411
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 11       OCEAN BREEZE                                               Last 4 digits of account number                                                      $96,390.25
          Nonpriority Creditor's Name
          3269 NW 29TH AVE                                           When was the debt incurred?
          Okeechobee, FL 34972
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 12       Oscar Martinez                                             Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          815 W Boynton Beach Blvd                                   When was the debt incurred?
          Boynton Beach, FL 33426
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 13       Paul Macell                                                Last 4 digits of account number                                                      $40,000.00
          Nonpriority Creditor's Name
          8824 First Tee road                                        When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 14       PAUL WELCH JR ENGINEER                                     Last 4 digits of account number                                                        $6,000.00
          Nonpriority Creditor's Name
          1984 SW Biltmore St # 114,                                 When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 15       PAUL WELCH SR, INC                                         Last 4 digits of account number                                                        $6,000.00
          Nonpriority Creditor's Name
          1984 SW BILTMORE ST, SUITE 114                             When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 16       Paula Billyard                                             Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          1073 SW McCrackenAve                                       When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 17       Philip & Dorothy D thompson                                Last 4 digits of account number                                                     $102,000.00
          Nonpriority Creditor's Name
          1758 SW Penrose Ave                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 18       PIONEER SCREEN COMPANY INC II                              Last 4 digits of account number                                                      $23,800.00
          Nonpriority Creditor's Name
          1682 SW BITMORE ST                                         When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 19       PLOP JON INC                                               Last 4 digits of account number                                                           $508.24
          Nonpriority Creditor's Name
          12100 SW MARTIN HWY                                        When was the debt incurred?
          Palm City, FL 34990
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1      PORT ST LUCIE GLASS AND
 20       MIRROR                                                     Last 4 digits of account number                                                      $47,932.50
          Nonpriority Creditor's Name
          1520 SE SOUTH NIEMEYER CIR.                                When was the debt incurred?
          STE 2
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 21       PRO PAINTERS CORP                                          Last 4 digits of account number                                                      $15,000.00
          Nonpriority Creditor's Name
          8753 US HWY 1                                              When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.1
 22       R & E LOADERS                                              Last 4 digits of account number                                                      $39,885.00
          Nonpriority Creditor's Name
          375 DALTON CIRCLE                                          When was the debt incurred?
          Port Saint Lucie, FL 34984
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 23       Renal Exalus & Marie R Rosemond                            Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          305 S 12th Street                                          When was the debt incurred?
          Fort Pierce, FL 34950
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 24       RESCUE REPAIR RENOVATE                                     Last 4 digits of account number                                                           $483.75
          Nonpriority Creditor's Name
          2349 SW IMPORT DR                                          When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 25       Ricardo & Ursula Trujillo                                  Last 4 digits of account number                                                      $76,000.00
          Nonpriority Creditor's Name
          11 Lafayette Avenue                                        When was the debt incurred?
          Summit, NJ 07901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 26       Richard Malta                                              Last 4 digits of account number                                                      $24,000.00
          Nonpriority Creditor's Name
          2598 SE University Terrace                                 When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 27       Robert & Tiffany Noon                                      Last 4 digits of account number                                                      $19,000.00
          Nonpriority Creditor's Name
          11850 Twin Creeks Drive                                    When was the debt incurred?
          Fort Pierce, FL 34945
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 28       Robert Fletcher                                            Last 4 digits of account number                                                      $60,000.00
          Nonpriority Creditor's Name
          3300 Port Royal N, Apt 228                                 When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 29       Robert Roderick                                            Last 4 digits of account number                                                      $41,000.00
          Nonpriority Creditor's Name
          1366 Appomattox Terrace                                    When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 30       Ryan Bartholomew                                           Last 4 digits of account number                                                      $52,000.00
          Nonpriority Creditor's Name
          7402 Salern Road                                           When was the debt incurred?
          Fort Pierce, FL 34951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1      Sandra & Jose Delores Hernandez
 31       Moreno                                                     Last 4 digits of account number                                                     $120,000.00
          Nonpriority Creditor's Name
          208 SW Grove Avenue                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 32       SATCOMM BUILDERS INC                                       Last 4 digits of account number                                                      $50,030.00
          Nonpriority Creditor's Name
          PO BOX 880781                                              When was the debt incurred?
          Port Saint Lucie, FL 34988
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 33       Scott & Lea Anne Schlosser                                 Last 4 digits of account number                                                      $82,000.00
          Nonpriority Creditor's Name
          30968 SE Miracle Lane                                      When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 34       SCOTT'S DRILLING INC                                       Last 4 digits of account number                                                        $2,550.00
          Nonpriority Creditor's Name
          5014 PALM DRIVE                                            When was the debt incurred?
          Fort Pierce, FL 34982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 35       Shannon Mittler 1                                          Last 4 digits of account number                                                      $18,100.00
          Nonpriority Creditor's Name
          2028 sw Driftwood Placw                                    When was the debt incurred?
          34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Loan (Unsecured)


 4.1
 36       Shannon Mittler 2                                          Last 4 digits of account number                                                      $12,000.00
          Nonpriority Creditor's Name
          2928 SW Driftwood Street                                   When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Loan (Unsecured)




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 4.1
 37       Small Business Administration                              Last 4 digits of account number       8005                                          $250,000.00
          Nonpriority Creditor's Name
          409 3rd Street SW                                          When was the debt incurred?
          Washington, DC 20416
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Business Loan (Unsecured)


 4.1
 38       SOD FARM LANDSCAPING                                       Last 4 digits of account number                                                        $2,916.00
          Nonpriority Creditor's Name
          PO BOX 425                                                 When was the debt incurred?
          Palm City, FL 34991
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 39       Stephen Lorrimer                                           Last 4 digits of account number                                                      $99,000.00
          Nonpriority Creditor's Name
          6020 Shakewood Cir, Apt 201C                               When was the debt incurred?
          Tamarac, FL 33319
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 40       STONE DECOR                                                Last 4 digits of account number                                                      $29,952.04
          Nonpriority Creditor's Name
          2190 RESERVE PARK TRACE                                    When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 41       SURFACE SPECIALIST                                         Last 4 digits of account number                                                           $200.00
          Nonpriority Creditor's Name
          1386 SE HUFFMAN RD                                         When was the debt incurred?
          Port Saint Lucie, FL 34952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 42       Susan Bigam & Oscar Andres Leon                            Last 4 digits of account number                                                      $33,000.00
          Nonpriority Creditor's Name
          5453 NW Dolly CT                                           When was the debt incurred?

          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1
 43       Tamara Bleil & Leanne Mattino                              Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          105 Wingate Drive                                          When was the debt incurred?
          Jupiter, FL 33456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 44       THE BATH COLLECTION                                        Last 4 digits of account number                                                        $9,785.00
          Nonpriority Creditor's Name
          2250 OLD DIXIE HWY                                         When was the debt incurred?
          Vero Beach, FL 32962
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 45       THE BUG ASSASSIN, LLC                                      Last 4 digits of account number                                                        $6,836.76
          Nonpriority Creditor's Name
          PO Box 690246                                              When was the debt incurred?
          Vero Beach, FL 32969
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




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 4.1      Treasure Cst Lnd Dvlpmnt LLC A
 46       Taffat                                                     Last 4 digits of account number                                                      $60,000.00
          Nonpriority Creditor's Name
          127 Manor Circle                                           When was the debt incurred?
          Jupiter, FL 33458
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 47       VETERANS FENCE CONTRACTORS                                 Last 4 digits of account number                                                        $4,500.00
          Nonpriority Creditor's Name
          1652 SW LAGORCE AVE                                        When was the debt incurred?
          Port Saint Lucie, FL 34953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 48       Wendy & Nam Hoai Nguyen                                    Last 4 digits of account number                                                      $90,000.00
          Nonpriority Creditor's Name
          10006 DE Nuova Way                                         When was the debt incurred?
          Port Saint Lucie, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 50 of 52
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                     Case number (if known)

 4.1
 49        Yarnel Suarez & Anyelis Carrillo                          Last 4 digits of account number                                                      $42,000.00
           Nonpriority Creditor's Name
           349 SW Kestor Drive                                       When was the debt incurred?
           Port Saint Lucie, FL 34953
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 50        Yeashram Ramball                                          Last 4 digits of account number                                                      $44,000.00
           Nonpriority Creditor's Name
           116-32 147th St                                           When was the debt incurred?
           Jamaica, NY 11436
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 51        Yeney Ramirez                                             Last 4 digits of account number                                                      $10,000.00
           Nonpriority Creditor's Name
           6173 NW East Deville Cir                                  When was the debt incurred?
           Port Saint Lucie, FL 34986
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
  type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                     5,843.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                         0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 51 of 52
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                                    Case number (if known)
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 5,843.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $             8,214,249.39

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             8,214,249.39




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 52 of 52
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 Fill in this information to identify your case:

 Debtor 1                MARK MICHAEL MONTALTO, Sr.
                         First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.2
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.3
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.4
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.5
           Name


           Number      Street

           City                                    State                  ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   MARK MICHAEL MONTALTO, Sr.
                            First Name                           Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name             Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:


    3.1         port st Lucie Properties, Inc                                                             Schedule D, line
                2960 Edgarce Street                                                                       Schedule E/F, line 4.144
                Port Saint Lucie, FL 34953                                                                Schedule G
                                                                                                        THE BATH COLLECTION



    3.2         Port St Lucie Properties, Inc                                                             Schedule D, line
                2690 SW Edgarce Street                                                                    Schedule E/F, line    4.25
                Port Saint Lucie, FL 34953                                                                Schedule G
                                                                                                        Capital One Bass Pro



    3.3         Port St Lucie Properties, Inc                                                             Schedule D, line
                2690 SW Edgarce Street                                                                    Schedule E/F, line    4.17
                Port Saint Lucie, FL 34953                                                                Schedule G
                                                                                                        ATT



    3.4         Port St Lucie Properties, Inc                                                             Schedule D, line
                2690 SW Edgarce Street                                                                    Schedule E/F, line 4.1
                Port Saint Lucie, FL 34953                                                                Schedule G
                                                                                                        AAA LATH & STUCCO INC




Official Form 106H                                                                  Schedule H: Your Codebtors                                Page 1 of 19
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.5      Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.6
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              ALEXANDER J PIAZZA PSM, INC



    3.6      Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.9
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              ALL COAST SEPTIC SERVICES, INC



    3.7      Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.10
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              ALL COUNTY TOILETS, INC



    3.8      Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.15
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              AQUA DIMENSIONS



    3.9      Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.16
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              ASHTON SEPTIC TANKS, INC



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.20
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              BOWDOIN G HUTCHINSON



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.21
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              BRIGHT IDEAS LED



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.23
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              BUILDERS FIRST SOURCE




Official Form 106H                                                        Schedule H: Your Codebtors                               Page 2 of 19
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.24
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              CABINET CONNECTION OF THE TREASURE
                                                                                              COAST



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.26
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              CARDINAL ROOFING AND SIDING



    3.15     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.27
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              CARPENTER CONTRACTORS OF AMERICA,
                                                                                              INC



    3.16     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.34
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              COASTAL BUILDING CONTRACTORS



    3.17     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.35
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              CREATIVE WOODWORKS & TRIM, LLC



    3.18     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.41
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              DAVIDSON INSULATION & ACOUSTICS, INC



    3.19     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.47
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              ENGINEERING DESIGN & CONSTRUCTION



    3.20     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.50
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              FOUR SEASONS LANDSCAPE NURSERY




Official Form 106H                                                        Schedule H: Your Codebtors                               Page 3 of 19
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.21     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.51
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              FREEDOM PORTABLES, LLC



    3.22     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.52
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              FREEDOM WASTE SERVICES



    3.23     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.53
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              FRITZ IRRIGATION



    3.24     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.57
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              GOTTA GO GREEN



    3.25     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.58
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              H & L PAINTING AND SERVICES



    3.26     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.62
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              HOLT'S RELIABLE GARAGE DOOR REPAIR,
                                                                                              LLC



    3.27     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.63
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              HUNTER CONSTRUCTION LLC



    3.28     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.73
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              JGE II




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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.29     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.72
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              JETSON



    3.30     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.89
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              LANCER ENTERPRISES



    3.31     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.90
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              LANDSCAPING BY ANTHONY



    3.32     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.91
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              LAVENTURE & ASSOCIATES



    3.33     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.92
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              LOBRUTTO'S FINAL TOUCH CLEANING



    3.34     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.95
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              LUXURY ELITE LAWNS



    3.35     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.100
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              MBS MANNING BUILDING SUPPLIES



    3.36     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.101
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              MER ENTERPRISES LLC/DBA LEED
                                                                                              INSULATION




Official Form 106H                                                        Schedule H: Your Codebtors                               Page 5 of 19
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.37     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.107
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              MK STRUCTURAL ENFINEERING



    3.38     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.109
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              NISAIR



    3.39     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.111
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              OCEAN BREEZE



    3.40     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.114
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              PAUL WELCH JR ENGINEER



    3.41     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.118
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              PIONEER SCREEN COMPANY INC II



    3.42     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.119
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              PLOP JON INC



    3.43     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.120
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              PORT ST LUCIE GLASS AND MIRROR



    3.44     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.122
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              R & E LOADERS



    3.45     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.124
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              RESCUE REPAIR RENOVATE



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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:

    3.46     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.132
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              SATCOMM BUILDERS INC



    3.47     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.134
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              SCOTT'S DRILLING INC



    3.48     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.138
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              SOD FARM LANDSCAPING



    3.49     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.140
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              STONE DECOR



    3.50     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.141
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              SURFACE SPECIALIST



    3.51     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.147
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              VETERANS FENCE CONTRACTORS



    3.52     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line  4.13
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Andrew and Rachael Pastore



    3.53     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.14
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Anthony Addorisio




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    3.54     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line    4.40
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              David and Elga Alvarado



    3.55     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.18
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Ava Alves De Sa & Gloria Belli Alvarez



    3.56     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.110
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Noreen Christine Bhoorasingh



    3.57     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line  4.142
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Susan Bigam & Oscar Andres Leon



    3.58     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line  4.81
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Joseph Bikowicz & Margaret Fischetti



    3.59     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.116
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Paula Billyard



    3.60     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.143
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Tamara Bleil & Leanne Mattino



    3.61     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line  4.70
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Jeremy Brothers & Wieslawa Brothers



    3.62     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line    4.46
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Elvia & Jesus Burgos



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    3.63     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line  4.3
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Abraham A & Dorothy Drouillard Calixte



    3.64     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.88
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Kimberly Daly & Timothy Morris



    3.65     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line  4.104
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Michael & Yihong Dempsey



    3.66     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.29
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Charles E Denning, III & Johanne Denning



    3.67     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.39
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Danielle Desrosiers



    3.68     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line  4.94
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Luis Prendes Martinez& Anna Prendes Diaz



    3.69     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line  4.60
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Hermee & Darlyne Dorsainvil



    3.70     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.76
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              John & Leslie Duarte




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    3.71     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.97
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Marjorie Zamy-Ducheine



    3.72     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.69
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Jeana S Durden



    3.73     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.128
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Robert Fletcher



    3.74     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line  4.19
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Bioneva Scott & Lorenzo Fulmore



    3.75     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.79
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Jonathan Garcia



    3.76     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line    4.103
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Michael & Cybill Morrow Gonzalez



    3.77     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line  4.33
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Clovis Gordon & Rosette Lynch



    3.78     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.102
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Mercedes Mahin Goryl



    3.79     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.105
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Michael S Hamilton



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                                                                                               Check all schedules that apply:

    3.80     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.108
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Nadine Harrison



    3.81     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.32
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Christy Michelle Heath



    3.82     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.82
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Joshua Henry & Adriana Just



    3.83     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.56
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Godfrey R Henry



    3.84     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line    4.5
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Alexander Hess



    3.85     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.38
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Dakota Howell



    3.86     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line    4.68
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Jayhad & Karissa Julien



    3.87     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.31
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Christopher & Tera Krueger




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    3.88     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.87
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Kim V & Nguyen T Lam



    3.89     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.54
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Galen Lambert



    3.90     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line    4.139
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Stephen Lorrimer



    3.91     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.113
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Paul Macell



    3.92     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line    4.126
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Richard Malta



    3.93     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.96
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Mario & Pastora Marchione



    3.94     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line     4.112
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Oscar Martinez



    3.95     Port St Lucie Properties, Inc                                                       Schedule D, line
             2690 SW Edgarce Street                                                              Schedule E/F, line   4.48
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Eric & Jacqueline McKay



    3.96     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.42
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Dennis S & Paula J Mercer



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    3.97     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line    4.84
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Kathleen Merritt & Mary Unkel



    3.98     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line 4.61
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              HMC V LLC Camilo Montenegro



    3.99     Port St Lucie Properties, Inc                                                      Schedule D, line
             2690 SW Edgarce Street                                                             Schedule E/F, line   4.131
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Sandra & Jose Delores Hernandez Moreno



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    0        2690 SW Edgarce Street                                                             Schedule E/F, line 4.148
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Wendy & Nam Hoai Nguyen



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    1        2690 SW Edgarce Street                                                             Schedule E/F, line   4.59
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Harvey Leder & Ian C Nolan



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    2        2690 SW Edgarce Street                                                             Schedule E/F, line     4.127
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Robert & Tiffany Noon



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    3        2690 SW Edgarce Street                                                             Schedule E/F, line  4.28
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Cassandra Palau Sealy



    3.10     Port St Lucie Properties, Inc                                                       Schedule D, line
    4        2690 SW Edgarce Street                                                              Schedule E/F, line    4.55
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Glenn Brian Pardo




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    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    5        2690 SW Edgarce Street                                                             Schedule E/F, line  4.11
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Amanda J Parramore & Brandon Parramore



    3.10     Port St Lucie Properties, Inc                                                       Schedule D, line
    6        2690 SW Edgarce Street                                                              Schedule E/F, line    4.49
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Erik & Fallon Perez



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    7        2690 SW Edgarce Street                                                             Schedule E/F, line   4.86
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Kevin Poole & Tzofia Menashe



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    8        2690 SW Edgarce Street                                                             Schedule E/F, line     4.150
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Yeashram Ramball



    3.10     Port St Lucie Properties, Inc                                                      Schedule D, line
    9        2690 SW Edgarce Street                                                             Schedule E/F, line     4.151
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Yeney Ramirez



    3.11     Port St Lucie Properties, Inc                                                       Schedule D, line
    0        2690 SW Edgarce Street                                                              Schedule E/F, line   4.93
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Lois & Peter Richardson



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    1        2690 SW Edgarce Street                                                             Schedule E/F, line  4.80
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Jose Rivers & Emelyn Marcelino



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    2        2690 SW Edgarce Street                                                             Schedule E/F, line  4.66
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Jacob George Robinson



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    3        2690 SW Edgarce Street                                                             Schedule E/F, line     4.129
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Robert Roderick



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    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    4        2690 SW Edgarce Street                                                             Schedule E/F, line   4.123
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Renal Exalus & Marie R Rosemond



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    5        2690 SW Edgarce Street                                                             Schedule E/F, line     4.130
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Ryan Bartholomew



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    6        2690 SW Edgarce Street                                                             Schedule E/F, line     4.83
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Justin Sapp



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    7        2690 SW Edgarce Street                                                             Schedule E/F, line   4.133
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Scott & Lea Anne Schlosser



    3.11     Port St Lucie Properties, Inc                                                      Schedule D, line
    8        2690 SW Edgarce Street                                                             Schedule E/F, line     4.106
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Micheal Singh



    3.11     Port St Lucie Properties, Inc                                                       Schedule D, line
    9        2690 SW Edgarce Street                                                              Schedule E/F, line    4.65
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Ingred Stennett



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    0        2690 SW Edgarce Street                                                             Schedule E/F, line  4.75
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              John & Brenda Stepongzi



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    1        2690 SW Edgarce Street                                                             Schedule E/F, line   4.99
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Matthew Sternfeld & Samantha Mazzara




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    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    2        2690 SW Edgarce Street                                                             Schedule E/F, line    4.149
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Yarnel Suarez & Anyelis Carrillo



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    3        2690 SW Edgarce Street                                                             Schedule E/F, line     4.74
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Joel Tamez



    3.12     Port St Lucie Properties, Inc                                                       Schedule D, line
    4        2690 SW Edgarce Street                                                              Schedule E/F, line 4.146
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Treasure Cst Lnd Dvlpmnt LLC A Taffat



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    5        2690 SW Edgarce Street                                                             Schedule E/F, line     4.77
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              John Tewey



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    6        2690 SW Edgarce Street                                                             Schedule E/F, line    4.117
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Philip & Dorothy D thompson



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    7        2690 SW Edgarce Street                                                             Schedule E/F, line     4.12
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Andrew & Nelia Troia



    3.12     Port St Lucie Properties, Inc                                                       Schedule D, line
    8        2690 SW Edgarce Street                                                              Schedule E/F, line     4.125
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Ricardo & Ursula Trujillo



    3.12     Port St Lucie Properties, Inc                                                      Schedule D, line
    9        2690 SW Edgarce Street                                                             Schedule E/F, line     4.71
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Jessica Vasco



    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    0        2690 SW Edgarce Street                                                             Schedule E/F, line     4.64
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Huy VU



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    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    1        2690 SW Edgarce Street                                                             Schedule E/F, line     4.44
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Donald Wartonick



    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    2        2690 SW Edgarce Street                                                             Schedule E/F, line  4.67
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              James & Lauren Windle



    3.13     Port St Lucie Properties, Inc                                                       Schedule D, line
    3        2690 SW Edgarce Street                                                              Schedule E/F, line   4.8
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Alexandria Winiarskyj & A Ordonez



    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    4        2690 SW Edgarce Street                                                             Schedule E/F, line     4.78
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              John WU & Anh Luu



    3.13     Port St Lucie Properties, Inc                                                       Schedule D, line
    5        2690 SW Edgarce Street                                                              Schedule E/F, line 4.7
             Port Saint Lucie, FL 34953                                                          Schedule G
                                                                                              Alexandra Zapata James



    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    6        2690 SW Edgarce Street                                                             Schedule E/F, line    4.43
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Donald J & Katherine A Zaros



    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    7        2690 SW Edgarce Street                                                             Schedule E/F, line     4.135
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Shannon Mittler 1



    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    8        2690 SW Edgarce Street                                                             Schedule E/F, line     4.136
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Shannon Mittler 2




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    3.13     Port St Lucie Properties, Inc                                                      Schedule D, line
    9        2690 SW Edgarce Street                                                             Schedule E/F, line 4.145
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              THE BUG ASSASSIN, LLC



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    0        2690 SW Edgarce Street                                                             Schedule E/F, line   4.137
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              Small Business Administration



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    1        2690 SW Edgarce Street                                                             Schedule E/F, line 4.115
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              PAUL WELCH SR, INC



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    2        2690 SW Edgarce Street                                                             Schedule E/F, line 4.22
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              BRITTANY THOMAS & TYLER J FARINAS



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    3        2690 SW Edgarce Street                                                             Schedule E/F, line 4.36
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              CRISTANO & MARIA GAMBOA



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    4        2690 SW Edgarce Street                                                             Schedule E/F, line 4.37
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              D & D GARAGE DOORS OF PSL, INC



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    5        2690 SW Edgarce Street                                                             Schedule E/F, line 4.45
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              DREAM CONTRACTORS



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    6        2690 SW Edgarce Street                                                             Schedule E/F, line     4.85
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              KELI SANTIAGO PA



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    7        2690 SW Edgarce Street                                                             Schedule E/F, line 4.98
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              MARLIN LEASING CORP



Official Form 106H                                                        Schedule H: Your Codebtors                              Page 18 of 19
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 Debtor 1 MARK MICHAEL MONTALTO, Sr.                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:

    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    8        2690 SW Edgarce Street                                                             Schedule E/F, line 4.121
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              PRO PAINTERS CORP



    3.14     Port St Lucie Properties, Inc                                                      Schedule D, line
    9        2690 SW Edgerce St                                                                 Schedule E/F, line 4.2
             Port Saint Lucie, FL 34953                                                         Schedule G
                                                                                              ABOVE ALL PAINTING



    3.15     Port St Lucie Properties, Inc                                                      Schedule D, line
    0        2690 SW Edgarce Street                                                             Schedule E/F, line 4.4
             Port Saint Lucie, FL 34984                                                         Schedule G
                                                                                              ACCURIGHT LAND SURVEYING




Official Form 106H                                                        Schedule H: Your Codebtors                              Page 19 of 19
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Fill in this information to identify your case:

Debtor 1                      MARK MICHAEL MONTALTO, Sr.

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                              Check if this is:
(If known)                                                                                                  An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse
       If you have more than one job,        Employment status         Employed                                   Employed
       attach a separate page with
       information about additional                                    Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or                              Maintenance Man
       self-employed work.
                                             Employer's name        DRS Property Management LLC
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                    8255 Cascade St, Suite 120
                                                                    Commerce Township, MI 48382

                                             How long employed there?          18 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $        4,333.34       $               N/A

3.     Estimate and list monthly overtime pay.                                               3.   +$             0.00      +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                          4.    $      4,333.34             $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    MARK MICHAEL MONTALTO, Sr.                                                                                               Case number (if known)



                                                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                                                               non-filing spouse
     Copy line 4 here ...................................................................................................     4.         $      4,333.34       $              N/A

5.   List all payroll deductions:
     5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $        686.16   $                   N/A
     5b.      Mandatory contributions for retirement plans                                                                    5b.        $          0.00   $                   N/A
     5c.      Voluntary contributions for retirement plans                                                                    5c.        $          0.00   $                   N/A
     5d.      Required repayments of retirement fund loans                                                                    5d.        $          0.00   $                   N/A
     5e.      Insurance                                                                                                       5e.        $        325.00   $                   N/A
     5f.      Domestic support obligations                                                                                    5f.        $      2,370.68   $                   N/A
     5g.      Union dues                                                                                                      5g.        $          0.00   $                   N/A
     5h.      Other deductions. Specify:                                                                                      5h.+       $          0.00 + $                   N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $          3,381.84       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $            951.50       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                               8a.        $              0.00   $               N/A
     8b.      Interest and dividends                                                                                          8b.        $              0.00   $               N/A
     8c.      Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                            8c.        $              0.00   $               N/A
     8d.      Unemployment compensation                                                                                       8d.        $              0.00   $               N/A
     8e.      Social Security                                                                                                 8e.        $              0.00   $               N/A
     8f.      Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                                                        8f.  $                    0.00   $               N/A
     8g.      Pension or retirement income                                                                                    8g. $                     0.00   $               N/A
     8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $             951.50 + $             N/A = $         951.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                          12.   $         951.50
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                                                 Schedule I: Your Income                                                           page 2
                             Case 25-12728-MAM                      Doc 1-1         Filed 03/13/25               Page 92 of 109



Fill in this information to identify your case:

Debtor 1                 MARK MICHAEL MONTALTO, Sr.                                                         Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?
      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than                Yes
      yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                          277.50
      4d. Homeowner’s association or condominium dues                                                     4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                  6a.    $                          140.00
      6b. Water, sewer, garbage collection                                                                6b.    $                           68.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                           88.13
      6d. Other. Specify:                                                                                 6d.    $                            0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     MARK MICHAEL MONTALTO, Sr.                                                                Case number (if known)

7.    Food and housekeeping supplies                                                           7. $                                               950.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                50.00
10.   Personal care products and services                                                    10. $                                                 50.00
11.   Medical and dental expenses                                                            11. $                                                171.33
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                246.95
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                100.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                                 116.45
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 237.33
      17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
      17c. Other. Specify:                                                                 17c. $                                                   0.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,495.69
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,495.69
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                 951.50
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,495.69

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                              -1,544.19

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
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 Fill in this information to identify your case:

 Debtor 1                    MARK MICHAEL MONTALTO, Sr.
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ MARK MICHAEL MONTALTO, Sr.                                            X
              MARK MICHAEL MONTALTO, Sr.                                                Signature of Debtor 2
              Signature of Debtor 1

              Date        March 13, 2025                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  MARK MICHAEL MONTALTO, Sr.
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                         $5,461.38           Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                       $54,511.78            Wages, commissions,
 (January 1 to December 31, 2024 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

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 Debtor 1      MARK MICHAEL MONTALTO, Sr.                                                                  Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For the calendar year before that:                   Wages, commissions,                      $113,836.00            Wages, commissions,
 (January 1 to December 31, 2023 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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 Debtor 1      MARK MICHAEL MONTALTO, Sr.                                                                  Case number (if known)



8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Mark Montalto                                            Civil Commercial            19TH JUDICIAL CIRCUIT                       Pending
       562023CA002940AXXXHC                                     Litigation                  IN AND FOR ST LUCIE                         On appeal
                                                                                            COUNTY, FLORIDA                             Concluded
                                                                                            201 S INDIAN RIVER DRIVE
                                                                                            Fort Pierce, FL 34950

       Mark Montalto                                            Civil Commercial            19TH JUDICIAL CIRCUIT IN                    Pending
       562023CA002936AXXXHC                                     Litigation                  AND FOR ST LUCIE                            On appeal
                                                                                            COUNTY, FLORIDA                             Concluded
                                                                                            201 S INDIAN RIVER DRIVE
                                                                                            Fort Pierce, FL 34950

       MARK MONTALTO                                            Civil Commercial            19TH JUDICIAL CIRCUIT IN                    Pending
       562023CA002931AXXXHC                                     Litigattion                 AND FOR ST LUCIE                            On appeal
                                                                                            COUNTY, FLORIDA                             Concluded
                                                                                            218 S 2ND STREET
                                                                                            Fort Pierce, FL 34950

       MARK MONTALTO                                            Civil Commercial            19TH JUDICIAL CIRCUIT IN                    Pending
       562023CA002929AXXXHC                                     Litigation                  AND FOR ST LUCIE                            On appeal
                                                                                            COUNTY, FLORIDA                             Concluded
                                                                                            218 S 2ND STREET
                                                                                            Fort Pierce, FL 34950

       MARK MONTALTO                                            Divorce                     19TH JUDICIAL CIRCUIT IN                    Pending
       V                                                                                    AND FOR ST LUCIE                            On appeal
       CHERYL MONTALTO                                                                      COUNTY                                      Concluded
       56-2020-DR-001033                                                                    218 S SECOND STREET
                                                                                            Fort Pierce, FL 34950                   Pending Post-judgement




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3

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 Debtor 1      MARK MICHAEL MONTALTO, Sr.                                                                  Case number (if known)



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       Builder's First Source                                   Seacoast Checking Account 3566                                January 23,                    $0.00
       PO Box 277126                                                                                                          2025
       Atlanta, GA 30384                                             Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes.    Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

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 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Associates                                                Check for $5,500.00, including $500 for                  March 30,                 $5,500.00
       2401 PGA Boulevard, Suite 280M                                costs.                                                   2024
       Palm Beach Gardens, FL 33410
       www.theassociates.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Albert Kleis                                                  2017 Cobia 296 CC with 2017                $125,000.00                     12/14/2023
                                                                     Ameritrail Trailer



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




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 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was       Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,      before closing or
       Code)                                                                                                            moved, or                   transfer
                                                                                                                        transferred
       SEACOAST BANK BUSINESS                                   XXXX-0711                     Checking                  11/14/2023                    $21.20
       ACCOUNT                                                                                Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       SEACOAST BANK BUSINESS                                   XXXX-1430                     Checking                  11/14/2023                    $33.95
       ACCOUNT                                                                                Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       SEACOAST BANK BUSINESS                                   XXXX-7090                     Checking                  11/14/2023                    $29.83
       ACCOUNT                                                                                Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       SEACOAST BANK BUSINESS                                   XXXX-6691                     Checking                  11/14/2023                  $420.16
       ACCOUNT                                                                                Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       CENTER STATE BUSINESS                                    XXXX-7894                     Checking                  02/27/2024                $1,006.21
       ACCOUNT                                                                                Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                        have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 6

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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes.    Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case             Status of the
       Case Number                                                   Name                                                                      case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7

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             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Port St Lucie Properties, Inc.                          Builder                                          EIN:         XX-XXXXXXX
        2690 SW Edgarce Street
        Port Saint Lucie, FL 34953                                                                               From-To      1984 -current


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ MARK MICHAEL MONTALTO, Sr.
 MARK MICHAEL MONTALTO, Sr.                                               Signature of Debtor 2
 Signature of Debtor 1

 Date       March 13, 2025                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8

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 Fill in this information to identify your case:

 Debtor 1                MARK MICHAEL MONTALTO, Sr.
                         First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
           whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
           on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that   Did you claim the property
                                                               secures a debt?                                   as exempt on Schedule C?

    Creditor's                                                               Surrender the property.                        No
    name:                                                                     Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

    Creditor's                                                               Surrender the property.                        No
    name:                                                                     Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

    Creditor's                                                               Surrender the property.                        No
    name:                                                                     Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:

    Creditor's                                                               Surrender the property.                        No
    name:                                                                     Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of                                                           Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                              page 1

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 Debtor 1      MARK MICHAEL MONTALTO, Sr.                                                            Case number (if known)




 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ MARK MICHAEL MONTALTO, Sr.                                               X
       MARK MICHAEL MONTALTO, Sr.                                                       Signature of Debtor 2
       Signature of Debtor 1

       Date          March 13, 2025                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:            Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167       filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571      administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738       total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200          filing fee                                               years or 5 years, depending on your income and other
 +                  $78          administrative fee                                       factors.
                   $278          total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235          filing fee                                                      debts for fraud or defalcation while acting in a
 +                  $78          administrative fee                                              fiduciary capacity,
                   $313          total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty of
        perjury—either orally or in writing—in connection                                 In addition, after filing a bankruptcy case, you generally
        with a bankruptcy case, you may be fined,                                         must complete a financial management instructional
        imprisoned, or both.                                                              course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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                                                             United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      MARK MICHAEL MONTALTO, Sr.                                                                  Case No.
                                                                                  Debtor(s)             Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      March 13, 2025                                             /s/ MARK MICHAEL MONTALTO, Sr.
                                                                       MARK MICHAEL MONTALTO, Sr.
                                                                       Signature of Debtor




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